Tarrant County - Civil                                                                                                   Page 1 of 1
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   ff3p Tarrant County District Cleric Online
   C ^ # 7 Thomas A. Wilder, District Clerk
  Civil - Case and Transaction Information                                                                            3/18/15 2:50 P M
  Cause Number:                 153-276847-15                                                                    Date Filed: 02-10-2015
                  JOEL ALPNSP, ET A L                              | VS |                    ALLSTATE TEXAS LLOYDS
  Cause of Action:              CONTRACT, DEBT/CONTRACT
  Case Status:                  PENDING
  File Mark       Description                                                                    Assessed Fee          Credit/Paid Feel
  02-10-2015 PLTFS PRIG PET                                                                                                    0.00
  02-10-2015 CIVIL CASE INFO SHEET                                                                                             0.00
  02-10-2015 COPIES - ELECTRONIC                                                                          4.90
  02-10-2015 COURT COST (PAID) trans #3                                                                                        4.90
  02-10-2015 PLTF PRIG PETITION                                                                         274.00
  02-10-2015 COURT COST (PAID) trans #5                                                                                     274.00
  02-10-2015 JURY FEE                                                                                    30.00
  02-10-2015 COURT COST (PAID) trans #7                                                                                       30.00
  02-10-2015 CIT Cert Mail-ISSUED ON ALLSTATE TEXAS LLOYDS-OnN                        Svc                83.00
                 02/11/2015
  02-10-2015 COURT COST (PAID) trans #9                                           Y                                           83.00
  02-10-2015 E-FILE TRANSACTION FEE                                               N                        2.00
  02-10-2015 COURT CPST (PAID) trans #11                                          Y                                            2.00
  02-20-2015 CIT Cert Mail Tr# 9 RET EXEC(ALLSTATE TEXAS                          I                                            0.00
                 L L O Y D S ) On. 02/17/2015
  02- 27-2015 CERTIFIED MATE RECEIPT/ALLSTATE TX LLOYDS                           I                                            0.00
  03- 16-2015 DEFN PRIG ANS TO PLTFS PRIG PET (ALLSTATE TX                        I                                            0.00
                 LLPYD)
  03-16-2015 E-FILE TRANSACTIPN FEE                                               N                        2.00
  03-16-2015 COURT CPST (PAID) trans #16                                          Y                                            2.00

                                                       District Clerk's Office
                                                       Tim Curry Justice Center
                                        401 West Belknap, Fort Worth, Texas 76196, Contact Us
                 Please send questions and comments regai'ding the District Clerk web site to District Clerk Webmaster




https://egov.tarrantcounty.com/group/dc/civil7p p id=subscriberAccessCivil WAR_subsc... 3/18/2015
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                                        153-276847-15                                                 FILED
                                                                                        TARRANT COUNTY
                                                                                      2/10/2015 4:18:17 PM
                                                                                       THOMAS A. WILDER
                                                                                           DISTRICT CLERK

                              CAUSE NO.

JOEL ALONSO AND MARIA ALONSO                   §            IN THE DISTRICT COURT
                                               §
                                               §
V.                                             §                   JUDICIAL COURT
                                               §
                                               §
ALLSTATE TEXAS LLOYD'S                         §            TARRANT COUNTY, TEXAS


                            PLAINTIFFS' ORIGINAL PETITION

TO THE HONORABLE JUDGE OF SAID COURT:

        NOW Come Joel Alonso and Maria Alonso, hereinafter referred to as "Plaintiffs,"

complaining of Defendant, Allstate Texas Lloyd's, hereinafter referred to as "Defendant," and

hereby respectfully shows unto the Court and Jury as follows:

                              I. DISCOVERY CONTROL PLAN

        Plaintiffs intend for discovery to be conducted under Level 1 of Rule 190 of the Texas

Rules of Civil Procedure.

                                          II. PARTIES

        Plaintiffs, Joel Alonso and Maria Alonso, are individuals and residents of Texas.

        Defendant, Allstate Texas Lloyd's ("Allstate"), is a Texas domestic Lloyd's plan

insurance company that, on information and belief, is licensed to conduct the business of

insurance in Texas and/or has its principal place of business located in Texas. Additionally, one

or more of Allstate's "members" are citizens of Texas. Allstate can be served with citation by

serving its registered agent, C T Corporation System, by certified mail, return receipt requested,

at 1999 Bryan Street Suite 900, Dallas, Texas 75201-3136.




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                               m . JURISDICTION AND VENUE

       This Court has jurisdiction over this case in that the amount in controversy exceeds the

minimum jurisdictional limits of this Court,

       Venue is mandatory and proper in Tarrant County, Texas, because all or a substantial part

of the events giving rise to the lawsuit occurred in this county (see Tex. Civ. Prac. & Rem. Code

§15.002) and the insured property that is the basis of this lawsuit is located in Tarrant County,

Texas. See Tex. Ins. Code §2210.552 and Tex. Civ. Prac. & Rem. Code § 15.032 (see below).

                               IV. CONDITIONS PRECEDENT

       All conditions precedent to recoveiy have been performed, waived, or have occurred.

                                             V. FACTS

A.     Plaintiffs are the holders of insurance Policy Number 000929481678 issued by the

       Defendant (hereinafter referred to as the "Policy").

B.     Plaintiffs owned the insured property, which is specifically located at 3708 College Ave,,

       Fort Worth, Texas 76110 on May 12,2014 (hereinafter referred to as the "Property"),

C.     Defendant or its agent sold the Policy, insuring the Property, to Plaintiffs.

D.     On or about May 12,2014, a wind and hailstorm struck the Fort Worth, Texas area causing

       damage to Plaintiffs' home.

E.     In the aftennafh of the wind and hailstorm, Plaintiffs submitted a claim to Defendant against

       the Policy for roof damage and water damage the Property sustained as a result of the wind

       and hailstorm. Plaintiffs asked that Defendant cover the cost of repairs to the Property

       pursuant to the Policy and any other available coverages under the Policy.

F.     Defendant assigned claim number 0337517353 to Plaintiffs' claim.

G.     Defendant hired and/or assigned an adjuster to adjust the claim.




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    Defendant and/or its agent improperly adjusted the Plaintiffs' claim. Without limitation,

    Defendant's adjuster misrepresented the cause of, scope of, and cost to repair the damage to

    Plaintiffs' Property, as well as the amount of insurance coverage for Plaintiffs' claim/loss

    under Plaintiffs' Policy. Through Defendant's adjuster, Defendant made these and other

    false representations to Plaintiffs, either knowingly or recklessly, as a positive assertion, and

    without knowledge of the truth. Defendant made these false representations with the intent

    that Plaintiffs act in accordance with said misrepresentations.       Plaintiffs relied on the

    Defendant's misrepresentations, including but not limited to those regarding the cause of,

    scope of, and cost to repair the damage to Plaintiffs' Property. Plaintiffs have been damaged

    as a result of such reliance.

    Because Defendant underpaid Plaintiffs on Plaintiffs' insurance claim, Plaintiffs have not

    been able to properly and completely repair the damages to Plaintiffs' Property. This has

    caused additional, further damage to Plaintiffs' property. Defendant also advised Plaintiffs

    as to how they could repair their Property so as to prevent further damage to the Property.

    This advice, however, was false because Plaintiffs could not properly repair the Property

    and prevent future damage by following Defendant's advice, due both to the fact that the

    advice was false and to Defendant's failure to pay for damages covered under the Policy.

    Plaintiffs' Property has sustained further damages as a result

    Defendant misrepresented that the damages caused by the wind and hailstorm were only

    $997.18. However, Defendant's representations were false because Plaintiffs' damages

    exceed $26,000.00.




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K.   Defendant failed to properly adjust the claims and Defendant has denied at least a portion of

     the claims without an adequate investigation, even though the Policy provided coverage for

     losses such as those suffered by Plaintiffs.

L.   These false representations allowed Defendant to financially gain by wrongfully denying at

     least a portion of Plaintiffs' claim.

M.   Plaintiffs' claim(s) still remain unpaid and the Plaintiffs still have not been able to properly

     repair the Property.

N.   Defendant failed to perform its contractual duty to adequately compensate Plaintiffs under

     the terms of the Policy. Specifically, Defendant failed and refused to pay the full proceeds

     of the Policy, although due demand was made for proceeds to be paid in an amount

     sufficient to cover the damaged Property and all conditions precedent to recovery upon the

     Policy had been carried out and accomplished by Plaintiffs. Defendant's conduct constitutes

     a breach of the insurance contract between Defendant and Plaintiffs.

O.   Defendant misrepresented to Plamtiffs that some of the damage to the Property was not

     covered under the Policy, even though the damage was caused by a covered occurrence.

     Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

     Practices. TEX. INS. CODE Section 541.060(a)(1).

P.   Defendant failed to make an attempt to settle Plaintiffs' claim in a fair manner, although it

     was aware of its liability to Plaintiffs under the Policy. Defendant's conduct constitutes a

     violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

     Section 541.060 (a)(2)(A).

Q.   Defendant failed to explain to Plaintiffs the reasons for its offer of an inadequate settlement.

     Specifically, Defendant failed to offer Plaintiffs adequate compensation, without any




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      explanation why full payment was not being made.           Furthermore, Defendant did not

     communicate that any future settlements or payments would be formcoming to pay for the

     entire losses covered under the Policy, nor did it provide any explanation for the failure to

     adequately settle Plaintiffs' claim. TEX. INS. CODE Section 541.060(a)(3).

R.   Defendant failed to affirm or deny coverage of Plaintiffs' claim within a reasonable time.

     Specifically, Plaintiffs did not receive timely indication of acceptance or rejection, regarding

     the full and entire claim, in writing from Defendant. Defendant's conduct constitutes a

     violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

     Section 541.060(a)(4).

S.   Defendant refused to fully compensate Plaintiffs, under the terms of the Policy, even though

     Defendant failed to conduct a reasonable investigation. Specifically, Defendant performed

     an outcome-oriented investigation of Plaintiffs' claim, which resulted in a biased, unfair and

     inequitable evaluation of Plaintiffs' losses to the Property. Defendant's conduct constitutes

     a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE

     Section 541.060 (a)(7).

T.   Defendant failed to meet its obligations under the Texas insurance Code regarding timely

     acknowledging Plaintiffs' claim, beginning an investigation of Plamtiffs' claim and

     requesting all information reasonably necessary to investigate Plaintiffs' claim within the

     statutorily mandated deadline.    Defendant's conduct constitutes violation of the Texas

     Insurance Code, Prompt Payment of Claims, TEX. INS. CODE Section 542.055.

U.   Defendant failed to accept or deny Plaintiffs' full and entire claim within the statutory

     mandated deadline of receiving all necessary information. Defendant's conduct constitutes




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      violation of the Texas Insurance Code, Prompt Payment of Claims. TEX. INS. CODE

      Section 542.056.

V.    Defendant failed to meet its obligations under the Texas Insurance Code regarding payment

      of claim without delay. Specifically, Defendant has delayed full payment of Plaintiffs'

      claim longer than allowed and, to date, Plaintiffs have not yet received full payment for their

      claim. Defendant's conduct constitutes violation of the Texas Insurance Code, Prompt

     Payment of Claims, TEX. INS. CODE Section 542.058.

W.   From and after the time Plaintiffs' claim was presented to Defendant, the liability of

     Defendant to pay the full claim in accordance with the terms of the Policy was reasonably

     clear. However, Defendant lias refused to pay Plaintiffs in full, despite there being no basis

     whatsoever on which a reasonable insurance company would have relied to deny the full

     payment. Defendant's conduct constitutes a breach of the common law duty of good faith

     and fair dealing.

X.   As a result of Defendant's wrongful acts and omissions, Plaintiffs were forced to retain the

     professional services of the attorneys and law firm who are representing Plaintiffs with

     respect to these causes of action.

Y.   Plaintiffs' experience is not an isolated case.       The acts and omissions of Defendant

     committed in this case, or similar acts and omissions, occur with such frequency that they

     constitute a general business practice of Defendant with regard to handling these types of

     claims. Defendant's entire process is unfairly designed to reach favorable outcomes for the

     company at the expense of the policyholder. Specifically, Defendant received a benefit

     when it refused to pay Plaintiffs' entire claim because it retained thousands of dollars that

     should rightfully have been paid to Plaintiffs under the Policy.




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                                  VI. THEORIES OF LIABILITY

A. Cause of Action for Breach of Contract

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          According to the Insurance Policy that Plaintiffs purchased, Defendant has the duty to

investigate and pay Plaintiffs' policy benefits for claims made for covered damages, including

additional benefits under the Policy, resulting from the wind and hailstorm. As a result of the

wind and hailstorm and/or ensuing losses from the wind and hailstorm, both of which are

covered perils under the Policy, Plaintiffs' Property has been damaged.

          Defendant's failure and refusal, as described above, to pay the adequate compensation as

it is obligated to do under the terms of the Policy in question and under the laws of the State of

Texas, constitutes a breach of Defendant's contract with Plaintiffs. As a result of this breach of

contract, Plaintiffs have suffered the damages that are described in this petition.

B. Cause of Action for Violation of Section 542

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          Defendant's acts, omissions, failures and conduct that are described in this petition

violate Section 542 of the Texas Insurance Code. Within the timeframe required after the receipt

of either actual or written notice of Plaintiffs' claim, Defendant did not request from Plaintiffs

any items, statements, or forms that it reasonably believed at that time would be required from

Plaintiffs for their claim. As a result, Defendant has violated Section 542 by failing to accept or

reject Plaintiffs' claim in wilting within the statutory timeframe. Defendant also violated Section

542 by failing to pay Plaintiffs' claim within the applicable statutory period. In addition, in the




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event it is determined that Defendant owes Plaintiffs any additional monies on Plaintiffs' claim,

then Defendant has automatically violated Section 542 in this case.

C. DTPA Cause of Action

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          Plaintiffs incorporate all the allegations in this petition for this cause of action against

Defendant under the provisions of the DTPA. Plaintiffs are consumers of goods and services

provided by Defendant pursuant to the DTPA. Plaintiffs have met all conditions precedent to

bringing this cause of action against Defendant. Specifically, Defendant's violations of the

DTPA include, without limitation, the following matters:

          By its acts, omissions, failures, and conduct that are described in this petition, Defendant

has violated Sections 17.46 (b)(2), (5), (7), (9), (12), (20) and (24) of the DTPA. In this respect,

Defendant's violations include, without limitation, (1) its unreasonable delays in the

investigation, adjustment and resolution of Plaintiffs' claim, (2) its failure to give Plaintiffs the

benefit of the doubt, and (3) its failure to pay for the proper repair of Plaintiffs' Property on

which liability had become reasonably clear, which gives Plaintiffs the right to recover under

Section 17.46(b)(2).

          As described in this petition, Defendant represented to Plaintiffs that its insurance policy

and Defendant's adjusting and investigative services had characteristics or benefits that it did not

have, which gives Plaintiffs the right to recover under Section 17.46 (b)(5) of the DTPA;

       As described in this petition, Defendant represented to Plaintiffs that its insurance policy

and Defendant's adjusting and investigative services were of a particular standard, quality, or

grade when they were of another in violation of Section 17.46 (b)(7) of the DTPA;




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        As described in this petition, Defendant advertised its insurance policy and adjusting and

investigative services with intent not to sell them as advertised in violation of Section 17.46

(b)(9) of the DTPA;

        As described in this petition, Defendant represented to Plaintiffs that its insurance policy

and Defendant's adjusting and investigative services conferred or involved rights, remedies, or

obligations that it did not have, which gives Plaintiffs the right to recover under Section 17.46

(b)(12) of the DTPA;

        As described in this petition, Defendant failed to disclose information concerning goods

or services which were known at the time of the transaction and such failure to disclose was

intended to induce Plaintiffs into a transaction into which the Plaintiffs would not have entered

had the information been disclosed, which gives Plaintiffs the right to recover under Section

17.46 (b)(24) of the DTPA;

        Defendant has breached an express warranty that the damage caused by the wind and

hailstorm would be covered under the insurance policy. This breach entitles Plamtiffs to recover

under Sections 17.46 (b)(12) and (20) and 17.50 (a)(2) of the DTPA;

       Defendant's actions, as described in this petition, are unconscionable in that it took

advantage of Plaintiffs' lack of knowledge, ability, and experience to a grossly unfair degree.

Defendant's unconscionable conduct gives Plaintiffs the right to relief under Section 17.50(a)(3)

of the DTPA; and

       Defendant's conduct, acts, omissions, and failures, as described in this petition, are unfair

practices in the business of insurance in violation of Section 17.50 (a)(4) of the DTPA.

       A l l of the above-described acts, omissions, and failures of Defendant are a producing

cause of Plaintiffs' damages that are described in this petition. All of the above-described acts,




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omissions, and failures of Defendant were done knowingly and intentionally as those terms are

used in the Texas Deceptive Trade Practices Act.

D. Cause of Action for Unfair Insurance Practices

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          Plaintiffs incorporate all the allegations in this petition for this cause of action against

Defendant under the Texas Insurance Code. Plaintiffs have satisfied all conditions precedent to

bringing this cause of action. By its acts, omissions, failures, and conduct, Defendant has

engaged in unfair and deceptive acts or practices in the business of insurance in violation of 541

of the Texas Insurance Code.          Such violations include, without limitation, all the conduct

described in this petition plus Defendant's unreasonable delays in the investigation, adjustment,

and resolution of Plaintiffs' claim and Defendant's failure to pay for the proper repair of

Plaintiffs' Property on which liability had become reasonably clear.           They further include

Defendant's failure to give Plaintiffs the benefit of the doubt. Specifically, as described in

Plaintiffs' factual allegations, Defendant is guilty of the following unfair insurance practices:

          A.     Engaging in false, misleading, and deceptive acts or practices in the business of

                 insurance in this case;

          B.     Engaging in unfair claims settlement practices;

          C.     Misrepresenting to Plaintiffs pertinent facts or policy provisions relating to the

                 coverage at issue;

       D.        Not attempting in good faith to effectuate a prompt, fair, and equitable settlement

                 of claims submitted in which liability has become reasonably clear;

       E.        Failing to affirm or deny coverage of Plaintiffs' claim within a reasonable time;




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          F.     Refusing to pay Plaintiffs' claim without conducting a reasonable investigation

                 with respect to the claim; and

          G.     Failing to provide promptly to a policyholder a reasonable explanation of the

                 basis in the insurance policy in relation to the facts or applicable law for the

                 denial of a claim or for the offer of a company's settlement.

          Defendant has also breached the Texas Insurance Code when it breached its duty of good

faith and fair dealing. Defendant's conduct as described herein has resulted in Plaintiffs'

damages that are described in this petition.

          All of the above-described acts, omissions, and failures of Defendant were done

knowingly as that term is used in the Texas Insurance Code.

E . Cause of Action for Breach of Duty of Good Faith and Fair Dealing

          Plaintiffs reallege and incorporate by reference all previous and subsequent paragraphs

herein.

          Plaintiffs incorporate all the allegations of the preceding paragraphs for this cause of

action. By its acts, omissions, failures and conduct, Defendant has breached its common law

duty of good faith and fan- dealing by failing to pay the proper amoimts on Plaintiffs' entire

claim without any reasonable basis and by failing to conduct a reasonable investigation to

determine whether there was a reasonable basis for this denial. Defendant has also breached this

duty by unreasonably delaying payment of Plaintiffs' entire claim and by failing to settle

Plaintiffs' entire claim because Defendant knew or should have known that it was reasonably

clear that the claim was covered. These acts, omissions, failures, and conduct of Defendant are a

proximate cause of Plaintiffs' damages.




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                                 VII. WAIVER AND ESTOPPEL

        Defendant has waived and is estopped from asserting any coverage defenses, conditions,

 exclusions, or exceptions to coverage not contained in any reservation of rights letter to

Plaintiffs.

                                         VIII. DAMAGES

        The above described acts, omissions, failures and conduct of Defendant has caused

Plaintiffs' damages, which include, without limitation, the cost to properly repair Plaintiffs'

property and any investigative and engineering fees incurred in the claim. Plaintiffs are also

entitled to recover consequential damages from Defendant's breach of contract. Plaintiffs are

also entitled to recover the amount of Plaintiffs' claim plus an 18% per annum penalty on that

claim against Defendant as damages under Section 542 of the Texas Insurance Code, plus

prejudgment interest and attorneys fees. In an effort to comply with Rule 47(c) of the Texas

Rules of Civil Procedure, Plaintiffs seek only monetary relief of $100,000.00 or less, including

damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees.

Furthermore, Plaintiffs' damages do not exceed $75,000.00. Therefore, all the damages

described in this petition are within the jurisdictional limits of the Court.

                                 IX. ADDITIONAL DAMAGES

       Defendant has also "knowingly" and "intentionally" committed deceptive trade practices

and unfair insurance practices as those terms are defined in the applicable statutes. Because of

Defendant's knowing and intentional misconduct, Plaintiffs are entitled to additional damages as

authorized by Section 17.50(b)(1) of the DTPA. Plaintiffs are further entitled to the additional

damages that are authorized by Section 541 of the Texas Insurance Code.




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                                 X. E X E M P L A R Y DAMAGES

        Defendant's breach of its duty of good faith and fair dealing owed to Plaintiffs was done

intentionally, with a conscious indifference to the rights and welfare of Plaintiffs, and with

"malice" as that term is defined in Chapter 41 of the Texas Civil Practice and Remedies Code.

These violations by Defendant are the type of conduct which the State of Texas protects its

citizen against by the imposition of exemplary damages. Therefore, Plaintiffs seek the recovery

of exemplary damages in an amount to be determined by the finder of fact that is sufficient to

punish Defendant for their wi'ongful conduct and to set an example to deter Defendant and others

similarly situated from committing similar acts in the future.

                                   XI. ATTORNEYS' F E E S

       As a result of Defendant's conduct that is described in this petition, Plaintiffs have been

forced to retain the undersigned attorneys to prosecute this action and have agreed to pay

reasonable attorneys' fees. Plaintiffs are entitled to recover these attorneys' fees under Chapter

38 of the Texas Civil Practices and Remedies Code, Sections 541 and 542 of the Texas Insurance

Code, and Section 17.50 of the DTPA.

                                     XII. JURY DEMAND

       Plaintiffs assert Plaintiffs' right to a trial by jury, under Texas Constitution Article 1,

Section 15, and makes this demand for a jury trial at least 30 days before the date this case is set

for trial, in accordance with Texas Rule of Civil Procedure 216. Plaintiffs tender the fee of

$30.00, as required by Texas Government Code Section 51.604.




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                                          X I I I . PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendant be cited to

appear and answer herein, and that upon trial hereof, said Plaintiffs have and recover such sums

as would reasonably and justly compensate them in accordance with the rules of law and

procedure, both as to actual damages, consequential damages, treble damages under the Texas

Insurance Code and Texas Deceptive Trade Practices Act, and all punitive, additional, and

exemplary damages as may be found. In addition, Plaintiffs request the award of attorney's fees

for the trial and any appeal of this case, for all costs of court, for prejudgment and post-judgment

interest as allowed by law, and for any other and further relief, at law or in equity, to which they

may show themselves to be justly entitled.



                                             Respectfully submitted,

                                             SPEIGHTS & WORRICH
                                             1350 North Loop 1604 East, Suite 104
                                             San Antonio, Texas 78232
                                             (210) 495-6789 (Telephone)
                                             (210) 495-6790 (Facsimile)



                                             By:
                                                   MANUEL CARDENAS
                                                   Texas State JSar/No. 24082774
                                                   manny@spei^tsfhtn. com

                                             ATTORNEY FOR PLAINTIFFS




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                                  Cause Number 153-276847-15        ^
                  JOEL ALONSO, ET AL                         f^fcS'%I$Q§t$$^S LLOYDS
                                                 VS


                                                                      OFFICER'S RETURN
                                                                                                                   THOMAS A. WILDER
  Received      this      C i t a t i o n By C e r t i f i e d Mail     on    the 11th day of February, 2015 " d f 3 :*?S TM ; and                       executed     at
   B/S CT CORPORATION SYSTEM REG AGT 1999 BRYAN ST STE 900 DALLAS TX 75201 3136                                          .


  within the county of                                                       S t a t e of TX on the   17th day of February, 2015                    by    mailing      to
  the w i t h i n named   ALLSTATE TEXAS LLOYDS                                     a true copy of t h i s     C i t a t i o n By C e r t i f i e d Mail
  together with the accompanying copy of:
   PLAINTIFFS' ORIGINAL PETITION




                    Authorized Person/Constable/Sheriff: Thomas A. w i l d e r




                 "• • .     ...   .. v\-
  {Must be v e r i f i e d i f served outside the S t a t e of Texas)
  State of                           County of
  Signed and sworn to by the s a i d                                                              before me t h i s
  to c e r t i f y which witness my hand and s e a l of o f f i c e




  (Seal)
                                                                 County of Tarrant, State of Texas




                                                 S E N D E R : COMPLETE      THIS SSCTiC                       i i W A e i f c T r t i S SUCTION   ON    DELIVERY


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                                                 PS Form 3811, July 2013                     DomesticflettirnReceipt
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                                                             THE STATE OF TEXAS
                                                     DISTRICT COURT, TARRANT COUNTY

                                                                             CITATION                                     Cause No. 153-276847-15
                                               JOEL ALONSO, E T A L
                                                                               VS.

                                               A L L S T A T E TEXAS LLOYDS

 TO: ALLSTATE TEXAS LLOYDS
                                                                       B/S CT CORPORATION SYSTEM REG AGT 1999 BRYAN ST STE 900 DALLAS, TX 75201-313
                                                                       US




You s a i d DEPENDANT a r e hereby commanded to appear by f i l i n g a w r i t t e n answer to the PLAINTIFFS' ORIGINAL PETITION
at o r before 10 o'clock A.M.          of the Monday next a f t e r the e x p i r a t i o n of 20 days a f t e r the date of s e r v i c e hereof
before the 153rd D i s t r i c t Court i n and f o r Tarrant County, Texas, a t the Courthouse i n the C i t y of Fort Worth,
Tarrant County, Texas s a i d PLAINTIFF being

                                                                                                                                             —!          c_>
                                                                                                                                                                      fi>
JOEL ALONSO, MARIA ALONSO                                                                                                                                -JL        "


F i l e d i n s a i d Court on    February 10th, 2015 Against                                                                       ^_JCO             EN3               £^^l
ALLSTATE TEXAS LLOYDS                                                                                                           ~!j>                                "^f""

                                                                                                                                     t
                                                                                                                                /— ««r;              —jf           t—. f~~}
For s u i t , s a i d s u i t being numbered 153-276847-15 the nature of which demand i s a s shown on s a i d p r j ^ r
PLAINTIFFS' ORIGINAL PETITION             a copy o f which accompanies t h i s c i t a t i o n .                                                     ^             3C
                        •                                                                                            _—.—_—-=5g—rr__<<.—.—
                                                                        MANUEL A CARDENAS                    ~        '   ~                                                     ~
                                                           Attorney for JOEL ALONSO Phone No. (210)495-6789 -
                                                           Address      1350 N LOOP 1604 E S T E 104 SAN ANTONIO, TX 78232
          Thomas A. Wilder                  , c l e r k of the D i s t r i c t Court of Tarrant County, Texas. Given under my hand and the s e a l
of s a i d court, a t o f f i c e i n the C i t y of F o r t Worth, t h i s the ll£>f d a y ^ f Febrjjary, 2J/\.S.        y^7                   j#
                                                                       B
                                                                        Y   /K^^^^tyj'                 " f i t f f   '    —     D        e      p     u        t     y
                                                                                              /MMBERLY KRUMLAND
NOTICE: You have been sued. You may employ an attorney. I f you o r your\atJtorney do not f i l e a w r i t t e n answer with the
c l e r k who i s s u e d t h i s c i t a t i o n by 10:00 AM. on the Monday next following the e x p i r a t i o n of twenty days a f t e r you were
served t h i s c i t a t i o n and p e t i t i o n , a d e f a u l t judgment may be taken against you.
            Thomas A. Wilder, Tarrant County Distria Clerk, 401 W BELKNAP, FORT WORTH T X 76196-0402

                                                                           OFFICER'S RETURN
Received t h i s C i t a t i o n on the            day of                                       ,              at          o'clock                  M; and executed a t
_                                                  w i t h i n the county of                         _, S t a t e of _ _ _ _ _ _ at _ _ _ _ _                  o'clock           M
on the                day o f                          ,            by m a i l i n g to the within named


a true copy of t h i s C i t a t i o n together with the accompanying copy of PLAINTIFFS' ORIGINAL PETITION                                  having f i r s t
endorsed on same the date of d e l i v e r y .



                                 Deputy/Constable/Sheriff:                                                           _ _ _ _ _ _
County of                                            S t a t e of                      By                                                                                   Deputy
Fees $           __                                  ^ _______________^__________
State of _ _ _ _ _ _ _ _ _ _ County o f                                                     (Must be v e r i f i e d i f served outside the S t a t e of Texas)
Signed and sworn to by the s a i d                                                           before me t h i s            day of                           ,
to c e r t i f y which witness my hand and s e a l of o f f i c e
(Seal)
                                                           County of                                , S t a t e of
                                Case 4:15-cv-00214-A Document 1-2 Filed 03/19/15   Page 20 of 22 PageID 27

                CITATION
                                                                                         FiLED
        Cause No. 153-276847-15                                                      TARRANT COUNTY
  JOEL ALONSO, E T A L                                                              2015FE8 2O PHIZ* i i

             VS.                                                                     THOMAS A. WILDER
                                                                                      DISTRICT CLERK
  ALLSTATE TEXAS LLOYDS


          ISSUED

 This 11th. day of February, 2015

       Thomas A. Wilder
   Tarrant County District Clerk
         401 W BELKNAP
   FORT WORTH T X 76196-0402

 By       KIMBERLY KRUMLAND Deputy


 MANUEL A CARDENAS
 Attorney for: JOEL ALONSO
 Phone No. (210)495-6789
 ADDRESS: 1350 N LOOP 1604 E STE 104

      SAN ANTONIO, T X 78232

      CIVIL LAW




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                                                                                                                   TARRANT COUNTY
                                                                                                                 3/16/2015 9:49:59 A M
                                                                                                                  THOMAS A. WILDER
                                                  CAUSE NO. 153-276847-15                                             DISTRICT CLERK


J O E L ALONSO AND MARIA ALONSO                                                           IN THE DISTRICT COURT
                                                                        §
                                                                        §
           Plaintiffs,
                                                                        §
vs.                                                                     §                    153RD JUDICIAL COURT
                                                                        §
A L L S T A T E TEXAS LLOYD'S
                                                                                       TARRANT COUNTY, TEXAS
           Defendant.


      DEFENDANT'S ORIGINAL ANSWER TO PLAINTIFFS' ORIGINAL PETITION


TO THE HONORABLE JUDGE OF SAID COURT:

           COME NOW, ALLSTATE TEXAS LLOYD'S ("Defendant") and files this, its Original

Answer and would respectfully show as follows:

                                                    I. ORIGINAL ANSWER

           Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies

each and every, all and singular, the allegations contained within Plaintiffs' Original Petition,

and demands strict proof thereon by a preponderance of the credible evidence in accordance with

the Constitution and laws of the State of Texas.

                                                             II. PRAYER

           WHEREFORE, PREMISES CONSIDERED, Defendant Allstate Texas Lloyd's prays

that upon final trial and hearing hereof, Plaintiffs recover nothing from Defendant, but Defendant

goes hence without delay and recovers costs of court and other such further relief, both general

and special, to which Defendant may be justly entitled.



                                                                                                                    EXHIBIT,



DEFENDANT'S O R I G I N A L ANSWER T O P L A I N T I F F S ' O R I G I N A L P E T I T I O N - P A G E 1
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   Case 4:15-cv-00214-A Document 1-2 Filed 03/19/15                                                           Page 22 of 22 PageID 29

                                                                  153-276847-15



                                                                         Respectfully submitted,



                                                                         By:         /s/Travis M . Brown
                                                                                     Roger D. Higgins
                                                                                     State Bar. No. 9601500
                                                                                     Travis M . Brown
                                                                                     State Bar No. 24061890

                                                                         THOMPSON, COE, COUSINS & IRONS, L.L.P.
                                                                         Plaza of the Americas, 700 N. Pearl Street, Twenty-
                                                                         Fifth Floor
                                                                         Dallas, Texas 75201-2832
                                                                         Telephone: (214) 871-8256
                                                                         Facsimile: (214) 871-8209
                                                                         Email: dbuechler@thompsoncoe.com

                                                                        ATTORNEY FOR A L L S T A T E TEXAS
                                                                        LLOYD'S



                                                    C E R T I F I C A T E OF S E R V I C E

        This is to certify that on the 16th day of March, 2015, a true and correct copy of the
foregoing document was delivered to all counsel of record in accordance with the Texas Rules of
Civil Procedure as follows:

Manuel A. Cardenas
Speights & Worrich
1350 North Loop 1604 E., Suite 104
San Antonio, Texas 78232
Telephone: (210)495-6789
Facsimile: (210) 495-6790
Counsel for Plaintiffs

                                                                                     /s/Travis M . Brown
                                                                                     Travis M . Brown




D E F E N D A N T ' S O R I G I N A L ANSWER T O P L A I N T I F F S ' O R I G I N A L P E T I T I O N - P A G E 2
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